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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

G.S. by and through his parents and next
                                       )
friends, BRITTANY and RYAN             )
SCHWAIGERT, S.T. by and through        )
her mother and next friend, EMILY      )
TREMEL, and on behalf of those         )
similarly situated,                    )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )        Case 2:201-cv-02552-SHL-atc
                                       )
GOVERNOR BILL LEE, in his official     )
Capacity as GOVERNOR OF TENNESSEE, )
and SHELBY COUNTY, TENNESSEE,          )
                                       )
      Defendants.                      )
______________________________________________________________________________

               RESPONSE OF DEFENDANT GOVERNOR BILL LEE
                   IN OPPOSITION TO PLAINTIFFS’ MOTION
                FOR COURT TO HEAR TESTIMONY (ECF NO. 15)
______________________________________________________________________________


       Defendant Bill Lee, Governor of the State of Tennessee (the “Governor” or “State

Defendant”), by and through the Office of the Tennessee Attorney General, hereby opposes

Plaintiffs’ Motion for Court to Hear Testimony.

       At 3:17 p.m. on Friday, August 27, 2021, the Office of the Tennessee Attorney General

received by email from Plaintiffs’ counsel, Bryce Ashby, a copy of the Complaint (ECF No. 1),

related motions for temporary restraining order and preliminary injunction, and supporting

declarations. See Exhibit A, email from Bryce W. Ashby, Attorney. The declarations received

in Mr. Ashby’s email were the Declaration of Brittany Schwaigert (ECF No. 2-2), the
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Declaration of Emily Tremel (ECF No. 2-3), the Declaration of Joi Wilson-Townsend, M.D.

(ECF No. 2-4), and the Declaration of Sara Cross, M.D. (ECF No. 2-5).

       At Plaintiffs’ request, counsel for the State sought and obtained authorization to accept

service for the State. In an effort to cooperate further, counsel for the State agreed to and did

meet Mr. Ashby at street level to physically accept service of process. See Exhibit B, email from

Bryce W. Ashby, Attorney. After their meeting, Mr. Ashby forwarded the Court’s Notice of

Setting (ECF No. 11) to counsel for the State at 5:02 p.m. on August 27. See Exhibit C, email

from Bryce W. Ashby, Attorney. The Notice of Setting stated in part that “[t]he parties are

instructed to have present any witnesses who will be needed for this hearing.”

       On Saturday, August 28 at 1:01 p.m., Plaintiffs’ counsel, via ECF, filed Plaintiffs’

Motion for Court to Hear Testimony (ECF No. 15). Plaintiffs’ counsel did not consult with

counsel for the State pursuant to LR7.2(a)(1)(B) before filing the motion.1 At 4:21 p.m. on

August 28 counsel for the State addressed an email to Mr. Ashby that stated:

       This is to advise that the State will object to the presentation of live testimony at
       the TRO hearing on Monday. Plaintiffs have filed declarations in support of the
       application. These declarations should suffice at the TRO stage. Moreover, the
       State will object to any proposal that the hearing on Plaintiffs’ TRO application
       be combined with Plaintiffs’ application for a preliminary injunction. We so
       advise you in advance as a courtesy to avoid unnecessary inconvenience to
       persons who would not otherwise attend or who might modify their schedules.

See Exhibit D, email from Jim Newsom to Bryce W. Ashby, Attorney.                       Mr. Ashby

acknowledged receipt. Id.

       As stated by the State’s counsel, the declarations in support of Plaintiffs’ application for a

temporary restraining order should suffice at the TRO stage, obviating the need for live

witnesses. Due to fact that Plaintiffs filed their lawsuit on a Friday, and the Court has set a


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  LR7.2(a)(1)(B) states in part that “[f]ailure to attach an accompanying certificate of
consultation may be deemed good grounds for denying the motion.”
                                                 2
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hearing on the temporary restraining order on the following Monday morning, the State is unable

to present witnesses at the TRO stage of this proceeding.

       Moreover, the presentation of live witnesses at the TRO stage would prejudice the State.

The State has not had an opportunity to depose those witnesses before the Monday setting.

Should Plaintiffs take the position at the preliminary injunction stage that the State had an

opportunity to cross-examine their witnesses at the TRO hearing, and the Court accepts that

argument, the State would be deprived of the opportunity to adequately cross-examine those

witnesses, if the Court should grant a temporary restraining order.

       Federal Rule of Civil Procedure 65(a)(1) explicitly requires the district court to provide

“notice to the adverse party” before issuing a preliminary injunction. While Rule 65(a)(1) does

not expressly require a hearing, Supreme Court precedent establishes that “[t]he notice required

by Rule 65(a) ... implies a hearing in which the defendant is given a fair opportunity to oppose

the application and to prepare for such opposition.” Granny Goose Foods, Inc. v. Brotherhood

of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cnty., 415 U.S. 423, 432 n. 7

(1974) (deeming “same-day notice” insufficient) (quoted with approval in Hunter v. Hamilton

Cty. Bd. of Elections, 635 F.3d 219 (6th Cir. 2011)).

       The Sixth Circuit has clarified that, although a hearing is not required “when the issues

are primarily questions of law,” Rule 65(a)(1) does require a hearing “when there are disputed

factual issues” material to the preliminary injunction.     Certified Restoration Dry Cleaning

Network, LLC v. Tenke Corp., 511 F.3d 535, 552 (6th Cir. 2007). “[C]ourts have not hesitated to

dissolve a preliminary injunction issued without sufficient notice or opportunity to contest issues

of fact or of law.” Hunter, 635 F.3d at 246 (quoting Amelkin v. McClure, No. 94–6161, 1996 WL

8112, at *5 (6th Cir.1996) (unpublished opinion)); accord Wyandotte Nation v. Sebelius, 443



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F.3d 1247, 1253 (10th Cir. 2006) (“‘Preliminary injunctions entered without notice to the

opposing party are generally dissolved.’” (quoting United States v. Microsoft, 147 F.3d 935, 944

(D.C. Cir. 1998))). The demands of Rule 65(a)(1) are equally pertinent whether a court is issuing

or modifying an injunction. W. Water Mgmt., Inc. v. Brown, 40 F.3d 105, 109 (5th Cir.1994)

(“[W]e find no authority allowing ... a modification [of an injunction] to be made without

notice.”).

        The State is not prepared to cross-examine Plaintiffs’ expert witnesses at the August 30

hearing. For the reasons set forth above, the State would be prejudiced if it is deprived of the

opportunity to cross-examine Plaintiffs’ expert witnesses prior to the hearing on Plaintiffs’

application for a temporary restraining order.

                                                     Respectfully submitted,

                                                     HERBERT H. SLATERY III
                                                     Attorney General and Reporter


                                                     s/James R. Newsom III_____________
                                                     James R. Newsom (TN BPR No. 6683)
                                                     Special Counsel
                                                     Matthew R. Dowty (TN BPR No. 32078)
                                                     Assistant Attorney General
                                                     Robert W. Wilson (TN BPR No. 34492)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 30th day of August, 2021, a copy of the foregoing was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing report. Parties may access this filing
through the Court’s electronic filing system.


                                                      s/Robert W. Wilson _______________
                                                      Robert W. Wilson (TN BPR No. 34492)
                                                      Assistant Attorney General




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